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 4   Facsimile: (559) 513-8530

 5   Attorney for Defendant, CHRISTOPHER VALDEZ

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 8                                     UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       CASE NO. 1:15-cr-00329-DAD-BAM

12                        Plaintiff,
13           v.                                       STIPULATION AND ORDER TO
                                                      CONTINUE TRIAL DATES
14   JESSE MENDOZA, et al.,
15                        Defendants.
16

17           IT IS HEREBY STIPULATED by and between the Defendant, CHRISTOPHER

18   VALDEZ, his attorney of record, CAROL ANN MOSES, Assistant U.S. Attorney, MELANIE L.

19   ALSWORTH, NICHOLAS ANTHONY CAPOZZI, Attorney for defendant CECILIO ALANIZ,

20   YAN SHRAYBERMAN, Attorney for defendant ROXANA DODIER, and MARK A.

21   BROUGHTON, Attorney for defendant JESSE MENDOZA that the trial in the above-captioned

22   matter currently scheduled for March 27, 2018 be continued until June 19, 2018.

23           Defense counsel for Christopher Valdez is new to the case. The discovery is voluminous

24   and she needs more time for case investigation, preparation, and settlement negotiation. Assistant

25   United States Attorney Melanie L. Alsworth and all Defense Counsel have agreed to this

26   proposed continuance.

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     STIPULATION AND ORDER TO CONTINUE TRIAL DATES
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     Case 1:15-cr-00329-ADA-BAM Document 63 Filed 02/16/18 Page 2 of 3


 1           It is further agreed that time is excluded pursuant to the provisions of the Speedy Trial Act

 2   due to the need for adequate representation of the defendants, case investigation, preparation, and

 3   settlement negotiation.

 4   Dated: February 15, 2018                              /s/ Carol Ann Moses
                                                           CAROL ANN MOSES
 5                                                         Attorney for Defendant,
 6                                                         CHRISTOPHER VALDEZ

 7   Dated: February 15, 2018                              /s/ Nicholas Anthony Capozzi
                                                           NICHOLAS ANTHONY CAPOZZI
 8                                                         Attorney for Defendant,
                                                           CECILIO ALANIZ
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10   Dated: February 15, 2018                              /s/ Yan Shrayberman
                                                           YAN SHRAYBERMAN
11                                                         Attorney for Defendant,
                                                           ROXANA DODIER
12

13   Dated: February 15, 2018                             /s/ Mark A. Broughton
                                                          MARK A. BROUGHTON
14                                                        Attorney for Defendant,
15                                                        JESSE MENDOZA

16   Dated: February 15, 2018                              /s/ Melanie L. Alsworth
                                                           MELANIE L. ALSWORTH
17                                                         Assistant U.S. Attorney
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     STIPULATION AND ORDER TO CONTINUE TRIAL DATES
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 1                                                   ORDER

 2           The court has reviewed and considered the stipulation of the parties to continue the trial in

 3   this case. Good cause appearing, the trial confirmation hearing as to Jesse Mendoza (1), Roxana

 4   Dodier (2), Christopher Valdez (3), and Cecilio Alaniz (4) currently set for March 12, 2018, is

 5   continued to June 4, 2018, at 10:00am. The jury trial currently set for March 27, 2018, is

 6   continued to June 19, 2018, at 1:00pm. The time period between March 27, 2018 and June 19,

 7   2018 is excluded under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(i)

 8   and (iv), as the ends of justice served by granting the continuance outweigh the best interest of the

 9   public and the defendant in a speedy trial.

10   IT IS SO ORDERED.
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         Dated:     February 16, 2018
12                                                      UNITED STATES DISTRICT JUDGE

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     STIPULATION AND ORDER TO CONTINUE TRIAL DATES
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